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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


TODD M. HARPER, in his personal capacity and
in his official capacity as a Member of the National
Credit Union Administration Board, and TANYA
F. OTSUKA, in her personal capacity and in her
official capacity as a Member of the National
Credit Union Administration Board,

                                Plaintiffs,
                                                        Civil Action No. 1:25-cv-01294-AHA
                    -against-

SCOTT BESSENT, in his official capacity as
Secretary of the Treasury, LARRY FAZIO, in his
official capacity as Executive Director of the
National Credit Union Administration, KYLE S.
HAUPTMAN, in his official capacity as Chairman
of the National Credit Union Administration Board,
TRENT MORSE, in his official capacity as Deputy
Assistant to the President and Deputy Director of
the White House Presidential Personnel Office, and
DONALD J. TRUMP, in his official capacity as
President of the United States,

                                Defendants.


                  JOINT MOTION TO AMEND BRIEFING SCHEDULE

       The parties respectfully move to amend the briefing schedule on Plaintiffs’ motion for

a preliminary injunction and judgment on the merits. The government has indicated it intends

to file a cross-motion for summary judgment and has confirmed that no vote will occur at the

National Credit Union Administration’s May 22 Board meeting. In light of the anticipated

cross-motion and the nature of the upcoming Board meeting, the parties believe a modest

extension is warranted and would serve the interests of both the parties and the Court by




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allowing for a fuller airing of the legal questions presented. The parties are aware of this Court’s

rule that extensions should be sought at least four days before the current deadline; here,

Defendants’ opposition to Plaintiffs’ motion for a preliminary injunction is due tomorrow, May

7, but the parties submit there is good cause for a modest adjustment to the schedule. The parties

only recently conferred about the nature of the upcoming Board meeting. No previous

extensions of time or continuances have been granted. In addition, Defendants intend to file a

cross-motion for summary judgment, and consolidating the briefing will promote efficiency and

avoid duplicative filings.

       Accordingly, the parties propose the following amended schedule:

           •   May 9, 2025: Defendants file their opposition and any cross-motion on or before

               May 9;

           •   May 19, 2025: Plaintiffs file their reply and opposition to any cross-motion on

               or before May 19;

           •   May 23, 2025: Defendants file their reply in support of any cross-motion on or

               before May 23.

       The parties also respectfully propose that, if the Court’s schedule permits, it hold oral

argument on the parties’ motions during the last week of May. In light of the government’s

representations regarding the nature of the May 22 Board meeting, Plaintiffs do not seek

preliminary relief at this time. Plaintiffs may revisit the need for interim relief depending on

any changes to the anticipated scope or nature of the May 22 meeting or the Board meeting

thereafter, tentatively scheduled for June 17.




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                                        Respectfully submitted,


Dated: May 6, 2025                      /s/ Vincent Levy
                                        Vincent Levy (NY0487)
                                        Denis D. Metin (Admission forthcoming)
                                        Christopher M. Kim (Admission forthcoming)
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